IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
CEDAR RAPIDS DIVISION
CATRELLIUS KENNEDY, CASE No.:

Plaintiff,
Vs.

CRST EXPEDITED INC., an lowa for
Profit Corporation,

)
)
)
)
) Jury Trial Demand
)
)
)
Defendant. )
COMPLAINT

COMES NOW the Plaintiff, CATRELLIUS KENNEDY (hereinafter, “Plaintiff’), and for
his Complaint against the Defendant, CRST EXPEDITED INC. (hereinafter, “Defendant”), states
and alleges as follows:

I. THE PARTIES

1. At all times material hereto, Plaintiff, CATRELLIUS KENNEDY, is over the age
of 18 and a citizen of Orlando, in Orange County, Florida.

2. Upon information and belief, Defendant, CRST EXPEDITED INC., is a for profit
corporation incorporated and existing under the laws of the State of lowa and has its principal
place of business in Cedar Rapids, Iowa.

il. JURISDICTION AND VENUE

3. - This Court has original subject jurisdiction over the claims in this action pursuant
to diversity of citizenship under 28 U.S.C. §§1332.

4. This is an action commenced by a citizen of the State of Florida, Plaintiff, against
a citizen of the State of lowa, Defendant, for damages in excess of Seventy-Five Thousand Dollars

($75,000.00), exclusive of costs, interest and attorney’s fees.

5. Venue is proper in the Northern District of Iowa under 28 U.S.C. §§1391(b) and

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(c) since Defendant resides in this District by virtue of being subject to this Court’s personal
jurisdiction because Defendant is incorporated in the State of lowa and has its principal place of
business in Cedar Rapids, IA.
6. There is an Independent Contractor Operating Agreement which controls the

relationship among the parties provides in its Section 17, entitled “Governing Law” that

“This Agreement shall be interpreted in accordance with, and

governed by, the laws of the United States and, except as otherwise

provided herein, of the State of lowa, without regard to the choice-

of-law rules of such State or any other jurisdiction. The parties

further agree that any claim or dispute arising from or in connection

with this agreement whether under federal, state, local or foreign law

(including but not limited to 49 C.F.R. Part 376), shall be brought

exclusively in the State or federal Courts Serving Cedar Rapids, IA.

The parties hereby consent to the jurisdiction and venue of the State
and federal courts serving Cedar Rapids, IA.”

(CRST Expedited, INC. Independent Contractor Operating Agreement attached as “Exhibit A”)
Ill. GENERAL ALLEGATIONS

7. On or about December 14, 2017, Plaintiff became an independent contractor with
Defendant and a trainer of the CRST Lead Driver Certification Training (hereinafter “CRST Driver
Training”).

8. At all times relevant hereto, Defendant employed Jesse Lamar Hinton (hereinafter,
“Hinton”).

9. On or about May 21, 2018, Plaintiff and Hinton picked up a “high value load” on
behalf of Defendant in Los Angeles, CA. The load had Richmond, VA as its final destination.
However, Plaintiff was scheduled to drop off the load in Atlanta, GA and another trailer and driver
would complete the delivery.

10. The load picked up by Plaintiff on May 21, 2018 was worth millions and considered

a “high value load.” As a result, the trailer with said load could not sit for more than 30 minutes;

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it had to constantly continue to move towards its destination.

11. Asaresult, Defendant knew or should have known that the uniqueness of this work
required a tandem team because each driver can only drive a limited number of hours.

12. On May 22, 2018, Hinton operated a tractor-trailer vehicle (VIN
3AKJGLDR1GSHH3882) on I-10 in Tonopah, Maricopa County, Arizona.

13. On May 22, 2018, Plaintiff was a passenger in the tractor-trailer vehicle (VIN
3AKJGLDR1GSHH3882) driven by Hinton.

14. On May 22, 2018, at approximately 5:21 a.m., Hinton fell asleep behind the wheel
while he was driving the tractor-trailer eastbound on I-10 in Tonopah, Maricopa County, Arizona.
The vehicle traveled in the median until it hit a large hump and became air-born, landing
approximately 100 feet beyond the hump.

15. At said time, Plaintiff sustained serious and permanent injuries as a result of the
collision caused by the negligent action of Hinton.

16. On that time and place, Hinton was an employee of Defendant acting within the
course and scope of his employment and a trainee of the CRST Driver Training.

17. Defendant is liable for the actions and negligence operation of the vehicle by its
employee, Hinton, while he is in the course and scope of his employment.

IV. FIRST CLAIM FOR RELIEF
(Respondeat Superior)

18. Plaintiff, Mr. Kennedy, re-alleges and incorporates by reference all of the preceding
paragraphs in this Complaint.

19. At all times material hereto, under Jowa’s respondent superior doctrine, Defendant,
as the employer, is vicariously liable for damages caused by the negligent operation of the tractor-

trailer vehicle by its employee, Hinton, on May 22, 2018.

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20. On May 22, 2018, Hinton fell asleep while operating the tractor-trailer, failing to
reasonably operate and control the vehicle and causing it to crash, thereby negligently causing
injuries and damage to Plaintiff hereinafter alleged.

21. At all times material hereto, Hinton was an employee of Defendant and acting
within the scope of his employment.

22. As a direct and proximate result of Defendant’s negligence, Plaintiff,
CATRELLIUS KENNEDY suffered bodily injury resulting in pain, suffering, disability,
permanent scarring, loss of capacity for the enjoyment of life, expenses of hospitalization and
medical treatment, aggravation of a pre-existing condition, inconvenience, loss of earnings, loss
of the ability to earn money and injuries which are permanent within a reasonable degree of
medical probability. These losses are either permanent or continuing and Plaintiff will suffer said
losses into the future.

WHEREFORE, Plaintiff, CATRELLIUS KENNEDY demands judgment for damages
against Defendant, CRST EXPEDITED INC., together with interest, costs and for such other and
further relief as this Court deems proper.

V. DEMAND FOR JURY TRIAL

Plaintiff, CATRELLIUS KENNEDY, hereby demands a trial by jury on all] issues so
triable.
VI. CERTIFICATION AND CLOSING
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

reversing law; (3) the factual contentions have evidentiary support, of if specifically so identified,

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will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with requirements of Rule 11.

Respectfully submitted on March 16, 2020, by:

/s/ Tim Semelroth

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